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17                           UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
18

19   PATRICK CALHOUN, et al., on behalf of                     Case No. 5:20-cv-5146-LHK-SVK
     themselves and all others similarly situated,
20           Plaintiffs,                                       JOINT SUBMISSION RE:
                                                               NOMINATIONS FOR A SPECIAL MASTER
21            v.                                               AND PROPOSED ORDERS

22   GOOGLE LLC,
          Defendant.                                           Referral: Hon. Susan van Keulen, USMJ
23
     CHASOM BROWN, et al., on behalf of themselves
24   and all others similarly situated,                        Case No. 5:20-cv-3664-LHK-SVK
               Plaintiffs,
25                                                             REDACTED VERSION OF
              v.                                               DOCUMENT SOUGHT TO BE FILED
26                                                             UNDER SEAL
     GOOGLE LLC,
27        Defendant.

28                                                                               Case No. 5:20-cv-5146-LHK-SVK
                                                                                 Case No. 5:20-cv-3664-LHK-SVK
                                                                        JOINT SUBMISSION RE SPECIAL MASTER
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    PAGES 2 – 12 SOUGHT TO BE FILED UNDER SEAL
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 1                               ATTESTATION OF CONCURRENCE

 2          I am the ECF user whose ID and password are being used to file this Joint Submission.

 3 Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that each of the signatories identified above has

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     concurred in the filing of this document.
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 6 Dated: June 29, 2021                                       By: /s/ Amanda Bonn
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